
1 N.Y.2d 671 (1956)
In the Matter of the Claim of Maria Iannone, Respondent,
v.
Radory Construction Corporation et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued February 7, 1956.
Decided March 15, 1956.
George J. Hayes, Bernard Katzen, William H. Stieglitz and Victor Fiddler for appellants.
Samuel Miles Fink and Lloyd I. Isler for Maria Iannone, respondent.
Concur: CONWAY, Ch. J., DESMOND, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ. Taking no part: DYE, J.
Order affirmed and order absolute ordered against appellants on the stipulation, with costs. No opinion.
